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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                              __________ District of
                                                                  ofIndiana
                                                                     __________


                     William Barnhouse,                        )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-00958-TWP-DLP
                    City of Muncie, et al.,                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         City of Muncie, Fonda King, Steve Stewart, Steve Blevins, Donald Bailey and Terry Winters                     .


Date:          04/15/2019                                                              /s/ Elizabeth A. Knight
                                                                                         Attorney’s signature


                                                                                  Elizabeth A. Knight (#11865-45)
                                                                                     Printed name and bar number
                                                                               Knight, Hoppe, Kurnik & Knight, Ltd.
                                                                               833 W. Lincoln Highway, Suite 340E
                                                                                      Schererville, IN 46375

                                                                                               Address

                                                                                       Eknight@khkklaw.com
                                                                                            E-mail address

                                                                                          (219) 322-0830
                                                                                          Telephone number

                                                                                          (219) 322-0834
                                                                                             FAX number
